


  MEMORANDUM DECISION
 

  PARKER, District Judge.
 

  This action for mandamus is before this Court on Defendants’ motion to dismiss pursuant to Fed.R.Civ.P. 12(b)(1) and (6).
  
   Pro se
  
  Plaintiff John D. Morelli (“Morelli”) brings this action under 28 U.S.C. § 1361 to compel Defendants, Eugene Alexander, Arthur L. Brunwasser and Carol M. Landy, agents of the Internal Revenue Service (“the Agents”), to strictly comply with the Internal Revenue Code and regulations.
 

  Morelli charges that the Agents violated various duties under the Internal Revenue Code when they sent him several official notices without signing them under penalty of perjury, 26 U.S.C. § 6065,
  
   1
  
  when they-failed to prepare a tax return for him, 26 U.S.C. § 6020, and when they sent him a defective Notice of Intent to Levy, 26 U.S.C. § 6031.
 


   DISCUSSION
  


  A. Mandamus Jurisdiction
 

  A motion under Rule 12(b)(1) challenges subject matter jurisdiction. The federal courts are, of course, courts of limited jurisdiction. See
  
   Owen Equip. &amp; Erection Co. v. Kroger,
  
  437 U.S. 365, 374, 98 S.Ct. 2396, 2402-2403, 57 L.Ed.2d 274 (1978). A federal court is presumed to lack jurisdiction in a particular case unless jurisdiction is established. See
  
   W.G. v. Senatore,
  
  18 F.3d 60, 64 (2nd Cir.1994). Here, Morelli asserts that the Court has subject matter jurisdiction under the Mandamus Statute, 28 U.S.C. § 1361, which provides:
 

 
   *558
   
  The district courts shall have original jurisdiction of any action in the nature of mandamus to compel an officer or employee of the United States or any agency thereof to perform a duty owed to the plaintiff.
 

  28 U.S.C. § 1361.
  
   2
  


  Mandamus is a drastic remedy available only in extraordinary situations. See
  
   Allied Chemical Corp. v. Daiflon, Inc.,
  
  449 U.S. 33, 34, 101 S.Ct. 188, 189-90, 66 L.Ed.2d 193 (1980). Mandamus is available only when three conditions are met: (1) the plaintiff has a clear right to the relief sought, (2) the defendant has a plainly defined and peremptory duty to perform the act in question, and (3) no other adequate remedy is available. See
  
   Anderson v. Bowen,
  
  881 F.2d 1, 5 (2d Cir.1989). Where the party seeking relief under § 1361 fails to demonstrate the existence of any of the necessary criteria, mandamus is not available. See, e.g.,
  
   Sprecher v. Graber,
  
  716 F.2d 968, 973 (2d Cir.1983).
 

  1. The Agents Failure to Verify the Notices
 

  Morelli argues that the Agents violated their duty under 26 U.S.C. § 6065 by failing to sign the notices that they sent to Morelli. Section 6065 states:
 

  Except as otherwise provided by the Secretary, any return, declaration statement, or other document required to be made under any provision of the internal revenue laws or regulations shall contain or be verified by a written declaration that it is made under the penalties of peijury.
 

  Morelli has incorrectly interpreted this provision. Section 6065 was enacted to permit the
  
   taxpayer
  
  to submit a verified return rather than a notarized return, see, e.g.,
  
   Cohen v. United States,
  
  201 F.2d 386, 393 (9th Cir.) (construing § 6065’s predecessor provision), ce
  
   rt. denied,
  
  345 U.S. 951, 73 S.Ct. 864, 97 L.Ed. 1374 (1953), and does not apply to notices issued by IRS agents.
  
   3
  
  See
  
   Pursell v. United States,
  
  1995 WL 273175 at *6 (E.D.Cal.1995);
  
   Mueller v. Esselstrom,
  
  1995 WL 462219 at *2-3 (C.D.Cal.1995);
  
   In re White,
  
  168 B.R. 825, 833 (Bankr.D.Conn.1994). Accordingly, Morelli has failed to satisfy the second prong for mandamus jurisdiction which requires that there exist a plainly defined and peremptory duty to be performed. See
  
   Mueller,
  
  1995 WL 462219 at *2-3 (action to require IRS agent to sign Notice of Intent to Levy failed to satisfy jurisdictional requirements of 28 U.S.C. § 1361). Further, other adequate remedies are available to Morelli, such as paying the assessed taxes and seeking a refund pursuant to 26 U.S.C. § 7422. See
  
   Mueller,
  
  1995 WL 462219 at *3. See also
  
   Davidson v. C.I.R.,
  
  589 F.Supp. 158, 161-62 (S.D.N.Y.1984) (injunction restraining IRS from enforcing a levy denied because payment of the tax assessed followed by a suit for refund constitutes an adequate remedy). Morelli therefore also fails to satisfy the third requirement for mandamus jurisdiction.
 

  2. The Agents’ Failure to Make a Substitute Return
 

  Section 6020(b)(1) authorizes the Secretary to make a substitute tax return for any person who fails to make one on his own. Morelli requests the remedy of mandamus which would have the effect of ordering the Agents to prepare a tax return for him. However, section 6020 does not require the IRS to prepare a return for the taxpayer before issuing a notice of deficiency. See, e.g.,
  
   Schiff v. United States,
  
  919 F.2d 830, 832-33 (2nd Cir.1990),
  
   cert. denied,
  
  501 U.S. 1238, 111 S.Ct. 2871, 115 L.Ed.2d 1037 (1991);
  
   United States v. Stafford,
  
  983 F.2d 25, 27 (5th Cir.1993);
  
   Geiselman v. United States,
  
  961 F.2d 1, 5 (1st Cir.),
  
   cert. denied,
  
  506 U.S. 891, 113 S.Ct. 261, 121 L.Ed.2d 191;
   
   *559
   

   Roat v. C.I.R.,
  
  847 F.2d 1379, 1381 (9th Cir.1988). Consequently, the Agents have no duty to file a return for Morelli, and the Court lacks mandamus jurisdiction over this claim as well.
 

  B. Morelli’s Challenge to the Adequacy of the Notice of Intent Is Barred by the Anti-Injunction Act
 

  Morelli’s final argument is that the Notice of Intent, dated January 18, 1993, fails to comply with the substantive requirements of 26 U.S.C. § 6331(d)(4).
  
   4
  
  We do not reach the merits of this claim because Morelli’s action to seek review of the Notice is barred by the Anti-Injunction Act, 26 U.S.C. § 7421. See
  
   Randell v. United States,
  
  64 F.3d 101, 106 (2nd Cir.1995). The purpose of § 7421 is to protect the government’s need to assess and collect taxes as expeditiously as possible with a minimum of pre-enforcement judicial interference, and to require that the taxpayer’s legal rights be determined in a suit for refund.
  
   5
  
  See
  
   Randell,
  
  64 F.3d at 106. Section 7421 has been broadly construed to include not only assessment and collection, but also “activities which are intended to or may culminate in the assessment or collection of taxes.”
  
   Linn v. Chivatero,
  
  714 F.2d 1278, 1282 (5th Cir.1983). See also
  
   Weiner v. I.R.S.,
  
  986 F.2d 12, 13 (2nd Cir.1993) (taxpayer suit seeking apology or explanation of errors that caused improper levy barred by 26 U.S.C. § 7421);
  
   Bianco v. I.R.S.,
  
  1994 WL 538020 at *2 (S.D.N.Y.1994) (claim regarding the state of taxpayer’s records and requests for corrections barred by 26 U.S.C. § 7421). Therefore, the Anti-Injunction Act divests this Court of jurisdiction to hear Morelli’s claim for preenforeement review of the Notices he received under 26 U.S.C. § 6331.
 


   CONCLUSION
  


  For the reasons stated, Defendants’ motion to dismiss is granted.
 

  The clerk shall enter judgment.
 

  SO ORDERED.
 







   1
  

   . Morelli was sent a Notice of Federal Tax Lien, three Notices of Intent to Levy, a Notice of Deficiency, and an Overdue Tax Return Notice.
  


   2
  

   . Morelli sues the Agents in their "personal and individual capacities” rather than in their official capacities in an apparent attempt to prevent the Department of Justice from representing the Agents. However, 28 U.S.C. § 1631 refers only to the official acts of government officers and therefore does not give this Court jurisdiction over their personal conduct. See
   
    Cook v. Arentzen,
   
   582 F.2d 870, 876 (4th Cir.1978);
   
    Mueller v. Esselstrom,
   
   1995 WL 462219 at *3, n. 2 (C.D.Cal. 1995).
  


   3
  

   . 26 U.S.C. § 6331(d)(4), which prescribes what must be included in a Notice to Levy, does not require the signature of an IRS official.
  


   4
  

   . Section 6331 allows the IRS to levy the property of a deficient taxpayer provided that the taxpayer is given at least thirty days notice of the Secretary’s intent to levy. Section 6331(d)(4) requires that the Notice of Intent to Levy include a brief nontechnical statement informing the taxpayer of,
   
    inter alia,
   
   (A) the provisions of the internal revenue code relating to levy and sale of property, (B) the procedures applicable to the levy, (C) the administrative appeals available to the taxpayer with respect to such levy, and (D) the alternatives available to prevent such levy (including installment agreements under section 6159).
  

   The Notice of Intent to Levy, dated July 12, 1993, satisfies each of the criteria listed trader § 6331(d)(4), but the Notice dated January 18, 1993, neglects on its face, to include the information required under § 6331(d)(4). The fourth sentence of the third paragraph of the January 18, 1993 Notice, however, states that a publication with additional information concerning the levy procedures was enclosed with the Notice of Intent to Levy. Morelli does not deny receiving this publication but charges that the intent of 6331(d)(4) is not satisfied unless the required information is included in the Notice itself.
  


   5
  

   . A limited exception to the Anti-Injunction Act, not applicable to the facts in the present case, exists if (1) it is clear that under no circumstances could the Government ultimately prevail on the tax liability issue, and (2) the taxpayer would suffer irreparable injuty if the government were not enjoined. See
   
    Randell,
   
   64 F.3d at 106-07 (citing
   
    Enochs v. Williams Packing &amp; Navigation Co.,
   
   370 U.S. 1, 7, 82 S.Ct. 1125, 1129, 8 L.Ed.2d 292 (1962)).
  
